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EXHIBIT A

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11

NEW CENTURY TRS HOLDINGS, : Case No. 07-10416 (KIC)
INC., a Delaware corporation, et al.,' :
Jointly Administered

Debtors.

ORDER PURSUANT TO SECTION 327(e) OF THE BANKRUPTCY
CODE AUTHORIZING EMPLOYMENT OF IRELL& MANELLA LLP, AS SPECIAL
LITIGATION, EMPLOYEE BENEFITS AND INSURANCE COUNSEL
TO THE DEBTORS NUNC PRO TUNC AS OF APRIL 20, 2007

Upon review and consideration of the “Application For Order Pursuant To Section 327(e)
Of The Bankruptcy Code Authorizing Employment Of Irell & Manella LLP, As Special
Litigation, Employee Benefits and Insurance Counsel To The Debtors Nune Pro Tunc to April
20, 2007” (the “Application”) filed by New Century TRS Holdings, Inc., et al., the debtors and
debtors in possession herein (the “Debtors”), seeking entry of an order pursuant to section 327(e)

of title 11 of the United States Code (the “Bankruptcy Code”) and Ruie 2014 of the Federal

Rules of Bankruptcy Procedure authorizing and approving the employment and retention of Irell
& Manella LLP (“1&M”) as special litigation, employee benefits and insurance counsel to the
Debtors, consistent with the terms of the retainer agreement by and between the Debtors and

I&M (the “Retainer Agreement”), substantially in the form annexed to the Application as

' The Debtors are the following entities: New Century Financial Corporation (f/k/a New Century REIT,
Inc.), @ Maryland corporation; New Century TRS Holdings, Inc. (f/k/a New Century Financial Corporation), a
Delaware corporation; New Century Mortgage Corporation (f/k/a IBE Mortgage) (d/b/a NCMC Mortgage
Corporate, New Century Corporation, New Century Mortgage Ventures, LLC), a California corporation, NC Capital
Corporation, a California corporation; Home123 Corporation (f/k/a The Anyloan Corporation, 1800anyloan.com,
Anyloan.com), a California corporation; New Century Credit Corporation (f/k/a Worth Funding Incorporated), a
California corporation; NC Asset Holding, L.P. (f/k/a NC Residual H Corporation), a Delaware limited partnership;
NC Residual 11] Corporation, a Delaware corporation; NC Residual [V Corporation, a Delaware corporation; New
Century REO. Corp, a California corporation; New Century R-E O 1] Corp., a California corporation; New
Century R-E.O. I] Corp., a California corporation; New Century Morigage Ventures, LLC (d/b/a Summit Resort
Lending, Total Mortgage Resource, Select Morigage Group, Monticello Mortgage Services, Ad Astra Mortgage,
Midwest Home Mortgage, TRATS Financial Services, Elite Financial Services, Buyers Advantage Mortgage), a
Delaware limited Hability company; NC Deltex, LLC, a Delaware limited liability company; NCoral, L-P., a
Delaware limited partnership.

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Exhibit C; and upon consideration of the Application and the Court being satisfied that 1&M
represents no interest adverse to the Debtors’ estates with respect to the matters upon which it is
io be engaged, and that the employment of I&M is necessary and in the best interests of the
Debtors and their estates; and it appearing that due notice of the Application having been given;
and that no other or further notice need be given; and sufficient cause appearing therefor; it is
hereby

ORDERED that, in accordance with section 327(e) of the Bankruptcy Code, the Debtors
are hereby authorized to employ and retain I&M as special litigation, employee benefits and
insurance counsel upon the terms and conditions set forth in the Application and the Retainer
Agreement, effective as of April 20, 2007; and it is further

ORDERED that I&M shall be compensated in accordance with the procedures set forth
in sections 330 and 331 of the Bankruptcy Code, the applicable Bankruptcy Rules, the Local
Rules, the Administrative Order Establishing Procedures for Interim Compensation and
Reimbursement of Expenses of Professions [Docket No. 389], the terms and conditions set forth
in the Retainer Agreement and any other such procedures as may be fixed by the Court.

ORDERED that, this Court shall retain jurisdiction over any and all issues arising from or

related te the implementation of this Order.

Wilmington, Delaware

Dated: , 2007
Wilmington, Delaware

THE HONORABLE KEVIN J. CAREY
UNITED STATES BANKRUPTCY JUDGE

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